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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :     CASE NO. 21-cr-23 (TJK)
               v.                              :
                                               :
JOSHUA PRUITT,                                 :
                                               :
                       Defendant.              :

               UNOPPOSED MOTION TO CONTINUE STATUS HEARING

       A status hearing in the above-captioned case is currently scheduled for October 21, 2021.

The government and the defense are continuing to work diligently to discuss pre-trial disposition

options and we require additional time to facilitate these efforts. Further, the government is

continuing to provide discovery to the defense for review. Accordingly, we are requesting this

status hearing be continued to a later date.

       The government has consulted with counsel for the defendant, as well as with the Court’s

Courtroom Deputy, and have selected January 7, 2022 at 2:00 p.m. as a date and time that might

be amenable to the Court’s schedule. Counsel for the defendant does not oppose this motion and

further consents to the exclusion of the Speedy Trial Act for the reasons stated herein.


                                                     Respectfully submitted,

                                                     CHANNING PHILLIPS
                                                     Acting United States Attorney
                                                     D.C. Bar No. 415793

                                               By:   /s/Christopher A. Berridge
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